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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

CHRISTOPHER SCOTT SMITH and     §
VERSATILE INSURANCE PLANNERS,   §
INC.,                           §
                                §
     Plaintiffs,                §
                                §
VS.                             §                     CIVIL ACTION NO. SA-17-CA-005-FB
                                §
CERTAIN UNDERWRITERS AT LLOYD’S §
LONDON,                         §
                                §
     Defendant.                 §

          ORDER OF DISMISSAL WITH PREJUDICE AND FINAL JUDGMENT

       Before the Court is the Agreed Stipulation Dismissing Lawsuit with Prejudice filed by the

parties on August 1, 2017 (docket #20). Plaintiffs have agreed to dismiss all claims and causes of

action in this lawsuit with prejudice and to terminate this action fully and finally for all purposes.

       Accordingly, pursuant to the Agreed Stipulation Dismissing Lawsuit with Prejudice, IT IS

HEREBY ORDERED, ADJUDGED AND DECREED that all claims and causes of action are

DISMISSED WITH PREJUDICE with costs to be borne by the party incurring same. Motions

pending, if any, are also DISMISSED, and this case is now CLOSED.

       It is so ORDERED.

       SIGNED this 3rd day of August, 2017.


                                      _________________________________________________
                                      FRED BIERY
                                      UNITED STATES DISTRICT JUDGE
